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l. ClR.."DlST./Dlv. CODE 1. PERSON REPRESENTED VOUCHER NHMBER v
TNW Wil]iams, Henry
3. MAG. DKT./DEF. NUMBER 4. DlST. DKT./DEF. NUMBER 5. A}'PEALS DKT.."DEF. NUMBER 6. OTHER DK'I`. NUMBER
2104-020401 -001.M
'»'. lN CASE/MATTER OF (Cl.te Narm;'} 8- PAYMENT CATEGORY 9. TYFE PERSDN REPRESENTED ll}. REPRESENTATION TYPE /.*‘-
U S W_l] (S¢:e [nstructions) ;// w
. . v. 1 lams Felony Adult Def`endant Appeal of Other Matters _ `<(;{)
ll. OFFENSE(S) CH ARGED (Ci[e U.S. Ctille, Tilll & Sectl(ln) ll' more than nne offense, list (up to five) major olinses charged, according to severity ofnl`l'ense. Uk$, `{\(':L-
l) 18 9220.1: -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FI REARMS THROUGH INTERSTATE COMME RCE ¢06` %_`
lZ. ATTORNEY"S NAME Flrst Name, M.l., Lest Name, including my sufl'lx) 13. COURT ORDER / e " /) "."
AND MAILING ADDRE§S [E 0 lAp;:lolntlng Counsel m C Co-Counsel Q{</",_;_,//; ` 4 4
PARSON KHUMALO’ LINDA m F Subs For Federal Defender \:\ R Sub§ For Relalned At|orney jar/l f . ' ‘ &
P. O_ Box 40184 ij P Subs For PanelAttorney |:l Y Stsndhy Cuuns¢l g.",{. »- " '.9.’
MEMPHIS TN 3 81 74 Prior Attorney‘s Nsme: '/ -4/`/-,', <DO
Appn|ntment Date: _._...._._ ,-, / 7 f "\/(Q
|:l Be¢:nuse the above-named person represented has testified under oath or has '/</‘; %
otherwise setlsl'led this court thlt he or sh ls nln¢:lnll)l unable to employ cmnsel and '*“ `-
-meph°m Numbm 1901 ) 832-4059 (2) does nut wi_si\ to weir el, and b am e interests oliust|ce so require, the /%/31 /?.>/'

 

sme lppesr n l ls pointed iu represent this person in this case.

14. NAME AND MAIL[NG ADDRESS OF LAW FIRM (unly provide per lnstructinns) or 2

 

 

 

E Other( el truct|onl)
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Signsturehl' l'resld ing ludl¢ al Ofl'lt:er or By Order of the Cnurt
(`tR/l l /')(`i
Dste of Order Nunc i‘ro Tunc Dnte

Repayment or psrtlai repayment ordered from the person represented fur this service at
time ol'zppolntmelsL YES NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CLA'MED ct.AlMEo uouns AMGUNT RE“F-“’

15. a. Arralgnment and/or Plea

b. Ball and Detention Hearlngs

c. Motion Hearings
l .
n d. Trlal
C e. Sentenclng Hearings
3 i'. Revocation H earlngs
z g. Appeals C'ourt

h. Other (Spectfy on additional sheets)

(Rate per hour = $ ) TOTAI_S:
16. a. Interviews and Conferences
O
itt b. Obtalnlng and reviewing records
o c. Legal research and brief writing
f
C d. Travel time
3 e. Investlgative and Other work (sp¢¢tly on sddlrtnnslsheeu)
r
‘ (Race per hour = s ) TorAL.s=
l'I. Travel Expellses (lodglng, parking meals, mlleege, ete.)
ts. Other Expenses (other than expert, transcripts etc.)
»'.:_
19. CERT|FICA'IION OF A'ITORNEWPAYEE FOR THE FER]OD OF SERVICE 20. APPO|NTMENT TERM|NAT!ON DATE Zl. CASE DISPO SITI()N
IF OTHER THAN CASE COMPL.ETION
FROM 10
11. C LAlM STATUS m Finll l‘nyment [:L interim Payment Number [:l Supplementll Plymenl
Hav¢ you previously gpplled to the court fcr compensation lnd¢‘or remlmbursernent fur this ease‘.’ [] YES \:\ NU lf yee, were you pald? ij YES [:l NO
Other than from the euurt, have you, of tuyour knowledge hal lnyone else. received payment (compensation or anything nr vslue) from any other source ln connection with this

representation? [] YES NO lt'yes, give details on additional sheets.
l swear or all'irm the truth or correctness ofthe above statements

 

 

Sl nltnre ol`Artorne '

 

23. lN COURT COMP. 24. OUT OF COURT C()Ml'. 25. TRA\"EL EXPENSES 26. OTHER EXPENS

 

 

 

 

 

 

27. TOTAL AMT. AFPR .' CERT
23. SlGNATURE OF THE PRES|D|NG .lUDlClAL OFFICER DATE 28a. .FUDGE!MAG. .IUDGE CODtl
29. IN COURT COMP. 30. OUT OF COURT COMP. 3]. TRAVEL EXPENSE.S 32. OTHER EXPENSES JJ. TOTAL AMT. APPROVED
34. Sa{j(p}%)`§e'£`%llex£cgfu$m:lsifl:l:tlgg(‘}hl"lréghgg]akn;]gf AI'P EALS (OR DELEGATE) Payment DATE 343. .|UDGE CODE

 

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
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Honorable Samuel Mays
US DISTRICT COURT

